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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        Case No. 18-23330-Civ-COOKE/GOODMAN

FERYAL MOHAMMAD and
WAJDAN MOHAMMAD,

       Plaintiff,

vs.

BANK OF AMERICA, N.A.,

      Defendant.
___________________________________/
                         ORDER ADMINISTRATIVELY CLOSING
                         CASE UPON NOTICE OF SETTLEMENT
       THIS MATTER comes before me on the parties’ Joint Notice of Settlement (ECF No.
15). The parties have conditionally settled this matter, and it will be administratively closed
pending the parties filing a stipulation of final dismissal, under Federal Rule of Civil Procedure
41(a)(1)(A)(ii), or moving for dismissal pursuant to Rule 41(a)(2).
       A stipulation of final dismissal, or a motion for dismissal, must be filed within 30 days of
this Order. In the event a stipulation of final dismissal is filed pursuant to Federal Rule of Civil
Procedure 41(a)(1)(A)(ii), and the parties desire the Court to have continuing jurisdiction to
enforce the terms of the settlement agreement, they must condition the stipulation upon this
Court entering an order retaining jurisdiction. See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d
1272 (11th Cir. 2012). The Clerk will ADMINISTRATIVELY CLOSE this case. All pending
motions, if any, are DENIED as moot.
       DONE and ORDERED in Chambers, in Miami, Florida, this 8th day of November 2018.




Copies provided to:
Jonathan Goodman, U.S. Magistrate Judge
Counsel of Record
